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                         EXHIBIT G
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY


  In re:                                            :    Chapter 11
                                                    :
  SHAPES/ARCH HOLDINGS, LLC, et al.,                :    Case No. 08-14631 (GMB)
                                                    :    (Jointly Administered)
           Debtors.                                 :
                                                    :    Hearing Date:
                                                         May __, 2008 at ___ _.m.

              ORDER VACATING AUTOMATIC STAY OF 11 U.S.C. § 362

           The relief set forth on the following page is hereby ORDERED and GRANTED.



  Dated: May ___, 2008                       __________________________________
                                             The Honorable Gloria M. Burns
                                             United States Bankruptcy Court Judge




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         Upon the motion of De Lage Landen Financial Services, Inc. (the “Movant”) for
  relief from the automatic stay of 11 U.S.C. § 362 as to certain property of the Debtors as
  herein after set forth, and for good and sufficient cause shown, it is

         ORDERED that the automatic stay of 11 U.S.C. § 362 is vacated to the extent
  necessary to allow the Movant to exercise its rights under applicable non-bankruptcy law
  in the following personal property:

         HUBTEX Side Loader, s/n JU4356
         DREXEL Forklift Model SLT 30, s/n 9458661051
         DREXEL Forklift Model SLT 30, s/n 9645161549
         DREXEL Forklift Model SLT 30, s/n 899037081
         NEW HOLLAND Loader Model LW110, s/n ZEFOLW11000495124
         DREXEL Forklift Model SLT 30, s/n 934288604
         DREXEL Forklift Model SLT 30, s/n 9573961363
         DREXEL Forklift Model SLT 30, s/n 917783206
         DREXEL Forklift Model SLT 30, s/n 9598341404
         DREXEL Forklift Model SLT 30, s/n 935962693
         DREXEL Forklift Model SLT 30, s/n 943875887


         It is further ORDERED that the Movant may join the Debtors and any trustee
  appointed in this case as defendants in its action(s) irrespective of anyconversion to any
  other chapter of the Bankruptcy Code.

         It is further ORDERED that this Order shall become effective immediately upon
  entry by the Court.

         The Movant shall serve this Order on the Debtors, their counsel, counsel for the
  Official Committee, the United States Trustee, any trustee appointed in the case, and any
  other party who entered an appearance on the motion.




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